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 4
                                  UNITED STATES DISTRICT COURT
 5
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 6
                                      SAN FRANCISCO DIVISION
 7

 8 NETLIST, INC.,                                         Case No: 4:09-cv-05718 RS
 9                 Plaintiff,                             ORDER DENYING PARTIES’
                                                          ADMINISTRATIVE MOTIONS TO
10          vs.                                           SEAL AS MOOT
11 GOOGLE LLC,

12                 Defendant.
13
     AND RELATED COUNTERCLAIM.
14

15          On January 18, 2022, Netlist filed a Motion to Transfer Venue. Dkt. 224.
16   Concomitantly, Netlist filed two administrative motions to file the motion to transfer under
17   seal—one concerning material Netlist sought to file under seal and another concerning material
18   that Google had designated as confidential and might seek to file under seal. Dkt. 222, 223.
19   Google filed an opposition to the motion to transfer, along with two administrative motions to
20   file the opposition under seal. Dkt. 231, 232. Netlist filed a reply in support of the motion to
21   transfer, along with two administrative motions to file the reply under seal. Dkt. 241, 242.
22          Subsequently, on February 22, 2022, the parties filed a stipulation to withdraw the
23   motion to transfer, Dkt.248, which was granted, Dkt. 250. In light of the withdrawal of the
24   motion to transfer, the district court need not consider the matters sought to be filed under seal.
25   Accordingly, the parties’ administrative motions to file under seal are denied as moot. See
26   generally Civ. L.R. 79-5(g)(2) (providing that, where the district court denies a motion to seal,
27   it may, inter alia, permit the withdrawal of the information sought to be sealed without
28   considering the same); see e.g., Maui Elec. Co. v. Chromalloy Gas Turbine, LLC, NO. CIV.
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 1   12-00486 SOM, 2015 WL 1442961, at *16 (D. Haw. Mar. 27, 2015) (denying as moot motion
 2   to file materials under seal where subsequent ruling made it unnecessary for the district court to
 3   consider the materials).
 4          In view of the foregoing, IT IS HEREBY ORDERED THAT:
 5          1.     The parties’ administrative motions to file under seal portions of the briefing on
 6   Netlist’s withdrawn motion to transfer are denied as moot.
 7          2.     The parties filed a stipulation to withdraw Netlist’s motion to transfer, but the
 8   stipulation did not withdraw explicitly the opposition and reply briefs. The parties shall file a
 9   stipulation to withdraw the same within ten days of the date this order issues.
10          3.     This order terminates Docket Nos. 222, 223, 231, 232, 241 and 242.
11          IT IS SO ORDERED.
12   Dated: May 9, 2022
                                                 Richard Seeborg
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                                                 Chief United States District Judge
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